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                                                           July 26, 2022

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the July 28, 2022 case

     management conference.

          1. Case Management

                On July 20, 2022, pursuant to the Court’s oral guidance at the last CMC, Plaintiffs wrote

     Defendants to identify the discrete aspects of the class case that Plaintiffs propose go forward for

     purposes of summary judgment and merits expert reports. A copy of Plaintiffs’ letter is attached

     hereto as Exhibit 1. Plaintiffs have not heard back from Defendants yet. Plaintiffs will be prepared

     to address any questions the Court may have at the upcoming CMC.
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    2. CVS Had and Continues to Have Notice of Class Representative Claims Against It

        Two proposed Class Representatives, Sarah Zehr and Robert Fields, have claims against

 Defendant CVS (“CVS”) because these individuals acquired contaminated Valsartan from that

 retailer. Because CVS, a named defendant in the operative Medical Monitoring Third Amended

 Class Action Complaint (“TAC”), is on notice of these claims, and indeed had the opportunity to

 take (and took) discovery, the drastic remedy of dismissing CVS from the TAC should be rejected,

 especially at this juncture where the litigation has not yet reached the stage of dispositive motion

 practice.

        Zehr purchased and consumed contaminated 160 mg valsartan manufactured by Hetero

 Labs, Ltd. from CVS between July 17, 2018 and August 4, 2018. CVS was aware that it had sold

 Zehr contaminated valsartan; CVS’s counsel questioned Zehr regarding her CVS prescription

 record during her deposition. Fields purchased and consumed contaminated 160 mg and 320 mg

 valsartan manufactured by ZHP from CVS between January 23, 2017, to October 6, 2017, and

 October 24, 2017, to June 18, 2018, respectively. These purchases are confirmed by CVS’ own

 prescription records, which were produced on January 6, 2021, well before briefing on class

 certification was complete.

        CVS has been on continual notice of the claims against it from the start, including through

 past complaints and the operative complaint, each of which named CVS as one of several retailer

 defendants. (Am. MM Compl., ECF 123, at 21-23 (June 17, 2019); Third Am. MM Compl., ECF

 1709, at 42-44 (Nov. 1, 2021)). Zehr and Fields’ specific allegations, while not naming CVS

 explicitly, do allege the involvement of the major retailers. Zehr alleged that “Defendant

 McKesson in turn distributed and sold this ZHP Product to Defendant Walmart (among other
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 Retail Pharmacy Defendants).” (Id. at 8). Likewise, Fields alleged that the ZHP product he

 consumed “bore a unique National Drug Code, which denoted that it was indeed sold,

 manufactured, or distributed into the United States drug supply chain by the ZHP Defendants.”

 (Id. at 11). CVS cannot reasonably claim that it is prejudiced by a lack of notice of the claims

 against it. See Swierkiewicz v. Sorema N.A., 122 S. Ct. 992, 998-99 (2002) (“The Federal Rules

 reject the approach that pleading is a game of skill in which one misstep by counsel may be decisive

 to the outcome and accept the principle that the purpose of pleading is to facilitate a proper decision

 on the merits”) (quoting internal quotations and citations omitted) (quoting Conley v. Gibson, 78

 S. Ct. 99, 103 (1957)). 1

        The fact that CVS is a named defendant, that its own records confirm the allegations, and

 the existence of discovery CVS took—all against the backdrop that this is the class certification




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         Courts permit even less precise pleading than that at issue here, so long as the complaint
 puts the defendants on notice of the claims against them. See, e.g., Cirulli v. Hyundai Motor Co.,
 No. 08-cv-0854, 2009 WL 4288367, at *4 (C.D. Cal. Nov. 9, 2009) (grouping of defendants
 Hyundai Motor America and Hyundai Motor Company was permissible because the complaint put
 defendants on notice of claims against them) (Ex. 2 hereto); In re Volkswagen Timing Chain Prod.
 Liab. Litig., No. 16-2765, 2017 WL 1902160, at *9 (D.N.J. May 8, 2017) (Ex. 3 hereto); Kyle K.
 v. Chapman, 208 F.3d 940, 944 (11th Cir. 2000) (“The fact that defendants are accused collectively
 does not render the complaint deficient. The complaint can be fairly read to aver that all defendants
 are responsible for the alleged conduct.”); Peoples Home Health v. Case N Covenant Home Health
 Care, No. 3:20-cv-5523-MCR-HTC, 2020 WL 12309341, at *2 (N.D. Fla. Oct. 15, 2020) (no
 specific parsing of individualized misconduct was necessary where plaintiff named a group of
 related defendant entities with overlapping levels of control) (Ex. 4 hereto). Generally, as a court
 noted in the context of a conspiracy, “‘plaintiffs should be given the full benefit of their proof
 without tightly compartmentalizing the various factual components and wiping the slate clean after
 scrutiny of each. . . . [T]he character and effect of a conspiracy are not to be judged by
 dismembering it and viewing its separate parts, but only by looking at it as a whole.’” In re High-
 Tech Employee Antitrust Litig., 856 F. Supp. 2d 1103, 1118 (N.D. Cal. 2012) (internal citations
 omitted).
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 stage in an MDL with a master complaint in place naming CVS as a defendant—underscore that

 CVS should not be dismissed.

    3. PFS Deficiencies and Orders to Show Cause.

        Plaintiffs will be prepared to address this issue during the case management conference.

                                       Respectfully,



                                       ADAM M. SLATER

 Cc: All counsel of record (via ECF)
